          Case 2:17-cr-00133-TOR    ECF No. 64   filed 10/27/17   PageID.120 Page 1 of 2




 1

 2

 3

 4

 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,
                                                     NO: 2:17-CR-0133-TOR-1
 8                                  Plaintiff,

 9            v.                                     ORDER DISMISSING INDICTMENT
                                                     WITH PREJUDICE
10    ELDRED BURNETT HEATH,

11                                 Defendant.

12

13           BEFORE THE COURT is the United States’ Motion to Dismiss Indictment

14   (ECF No. 63). The motion was submitted for consideration without oral argument.

15   The Court has reviewed the file and the records therein, and is fully informed. The

16   Government seeks to dismiss the indictment in this matter pursuant to Fed. R.

17   Crim. P. 48(a) after having been advised of Defendant’s death. For good cause

18   shown, the motion is granted.

19   //

20   //



     ORDER DISMISSING INDICTMENT WITH PREJUDICE ~ 1
       Case 2:17-cr-00133-TOR    ECF No. 64   filed 10/27/17   PageID.121 Page 2 of 2




 1         Accordingly, IT IS HEREBY ORDERED:

 2         1. The United States’ Motion to Dismiss Indictment (ECF No. 63) is

 3   GRANTED.

 4         2. The Indictment filed against Mr. Heath is dismissed with prejudice, all

 5   pending motions are DENIED as moot, and all pending hearing and trial dates are

 6   stricken from the Court’s calendar.

 7         3. The District Court Executive is hereby directed to enter this Order and

 8   provide copies to counsel, the U.S. Probation Office, and the U.S. Marshal’s

 9   Service.

10         DATED October 27, 2017.

11

12                                  THOMAS O. RICE
                             Chief United States District Judge
13

14

15

16

17

18

19

20



     ORDER DISMISSING INDICTMENT WITH PREJUDICE ~ 2
